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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

QUINTA SANDERS,                    )
                                   )
       Plaintiff,                  )
                                   )
vs.                                ) Case No.: 1:18-CV-269-ACL
                                   )
MISSISSIPPI COUNTY, MISSOURI, CITY )
OF CHARLESTON, MISSOURI, CORY      )
HUTCHESON, SALLY YANEZ, RYAN       )
HILL, JOE ROSS, JOSH MALDONADO,    )
DECOTA MCGLOTHLIN, FAITH           )
ALTAMIRANO, ROBERT HEARNES,        )
CURTIS ARNOLD, ZACHARY MATNEY, )
AND AUSTIN HENSON,                 )
                                   )
       Defendants.                 )

                                            ORDER

       This matter is before the Court on Intervenor St. Louis Post-Dispatch, LLC’s (“Post-

Dispatch”) Motion to Unseal and Opposition to Parties’ Motion for the Court to Declare that

Documents are Closed Records under Mo. Rev. Stat. § 610.021(1). (Doc. 79.) The parties have

not filed responses to the Motion and the time for doing so has expired.

       On February 18, 2021, at the request of the Court, the parties submitted a letter outlining

the resolution of the matter between Plaintiff and the City of Charleston Defendants. (Doc. 72-

1.) The letter refers to each of the minor children by his or her full name. During the telephone

conference, the parties orally requested leave to file this letter under seal. The undersigned

granted the parties’ oral motion.

       On April 1, 2021, Plaintiff and the City of Charleston Defendants filed a Joint Motion for

the Court to Declare that Documents are Closed Records Under Mo. Rev. Stat. ⸹610.021(a) (2016)

and for Leave to File Documents Under Seal. (Doc. 75.) The Joint Motion states that the City

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of Charleston Defendants and Plaintiff are required to file various pleadings and documents with

the Court that contain confidential financial information regarding the distribution of the

settlement proceeds and information about the heirs and beneficiaries of the decedent, including

information regarding the decedent’s minor children.

       On April 5, 2021, Plaintiff and the City of Charleston Defendants filed a Joint Application

for Approval of the Settlement.        (Doc. 76.)       This Motion and its attached exhibits were

provisionally sealed pending the undersigned’s ruling on the Joint Motion to File Under Seal.

       On April 12, 2021, the Post-Dispatch filed a Motion to Intervene for the purpose of moving

to unseal Document 72-1, and to oppose the parties’ Motion for Leave to File Documents Under

Seal. (Doc. 77.) The Court granted the Motion to Intervene, and gave the parties until April 27,

2021 to file any Responses to the Motion to Unseal Documents. (Doc. 82.)

       An evidentiary hearing on the Joint Application for Approval of the Settlement was held

on April 14, 2021. The hearing was open to the public. During the hearing, evidence was

introduced regarding the terms of the settlement, including the amount of the settlement. The

Plaintiff, the decedent’s wife, and each of the Next Friends testified at the hearing. The parties

agreed that the minors would be referred to by their initials only during the hearing. In addition,

all of the pleadings and documents related to the Joint Application for Approval of Settlement refer

to the minor children by their initials only.

       In light of the fact that the nature and amount of the settlement has already been made

public and that no party has filed a response in opposition to the Intervenor’s Motion, the Joint

Motion for the Court to Declare that Documents are Closed Records Under Mo. Rev. Stat. §

610.021(a) (2016) and for Leave to File Documents Under Seal (Doc. 75) will be denied.

       Because the February 18, 2021 letter (Document 72-1) refers to the minor children by name

in Paragraphs 2(c), 2(d), and 3, redactions to this document are necessary.          Plaintiff will,
                                                    2
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therefore, be directed to submit a redacted copy of Document 72-1 that will be accessible to the

public.

          Accordingly,

          IT IS HEREBY ORDERED that Plaintiff and the City of Charleston Defendants’ Joint

Motion for the Court to Declare that Documents are Closed Records Under Mo. Rev. Stat. §

610.021(a) (2016) and for Leave to File Documents Under Seal (Doc. 75) is denied.

          IT IS FURTHER ORDERED that the Intervenor’s Motion to Unseal (Doc. 79) is

granted in part in that all documents other than Document 72-1 shall be unsealed.

          IT IS FURTHER ORDERED that Plaintiff shall submit a copy of Document 72-1

redacting the names of the minor children as set forth in this Order no later than May 19, 2021.


          Dated this 12th day of May, 2021.

                                              s/Abbie Crites-Leoni
                                              ABBIE CRITES-LEONI
                                              UNITED STATES MAGISTRATE JUDGE




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